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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION

JOHN DOE,
                                                        CIVIL ACTION
                        Plaintiff,

      v.

PURDUE UNIVERSITY,PURDUE
UNIVERSITY BOARD OF TRUSTEES,
MITCHELL ELIAS DANIELS,JR.,
individually and as agent for Purdue              No.
University, ALYSA CHRISTMAS
ROLLOCK,individually and as agent for
Purdue University, KATHERINE
SERMERSHEIM,individually and as
agent for Purdue University, ERIN
O~I~ER,individually and a.~ agent
for Purdue University, JACOB
AMBERGER,individually and as agent                      JURY TRIAL
for Purdue University,                                  DEMANDED

                        Defendants.

                 PLAINTIFF'S MEMORANDUM OF LAW
           IN SUPPORT OF PLAINTIFF'S MOTION TO PROCEED
           UNDER PSEUDONYM AND FOR PROTECTIVE ORDER

                                 Introduction

      Plaintiff John Doe ("Plaintiff'), a wrongly suspended Purdue student who

lost his Navy RO~'C scholarship as a result of false accusations of sexual

misconduct, submits this Memorandum of Law in support of his motion to file a

Complaint in the above-captioned matter as a pseudonymous Plaintiff, proceed in

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the litigation under the pseudonym "John Doe" and. restrain the named Defendants

from revealing Plaintiffs identity.

       Plaintiff's motion should be granted. There are a number of recognized

criteria for determining whether to grant pseudonym status that are applicable in

this case. See Doe v. Indiana Black Expo, Inc., 923 F.Supp. 137, 140 (S.D. Ind.

1996), quoting Doe v. Shaku~, 164 F.R.D. 359, 361 (S.D.N.Y. 1996). Application

of those criteria to this case support finding that this case is an exceptional case

warranting granting pseudonym treatment to Plaintiff.

       The criteria pertinent here include: Plaintiff is challenging the campus sexual

misconduct procedures at Defendant Purdue University that are effectively

required by the April 2011 Dear Colleague Letter issued by the Department of

Education's Office of Civil Rights but involve violations of due process; Plaintiff

is required to disclose information of utmost intimacy; Plaintiff and his accuser

would suffer serious harm if they are identified; and there is no prejudice to the

Purdue Defendants if the suit is brought and litigated under a pseudonym.

                                  Statement of Facts

        The statement of facts pertinent to this motion is provided in the detailed

63-page Complaint. The Court is respectfully requested to read the Complaint, as

it does set out the facts of the case. Those facts, it is respectfully submitted, satisfy

the legal criteria for filing and proceeding under a pseudonym.
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                                      Argument

   I.          The Law Governing Granting Pseudonym Status.

        At the outset, it should be acknowledged that the Seventh Circuit has stated

that "[t]he use of fictitious names is disfavored, and the judge has an independent

duty to determine whether exceptional circumstances justify such a departure from

the normal method of proceeding in federal court." Doe v. Blue Coss and Blue

Shield United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997). At the same time,

as the Court in Doe v. Indiana Black Expo, Inc., 923 ~'.Supp. 137, 139 (S.D. Ind.

1996)(Hamilton, J.), recognized:

               Notwithstanding the powerful presumption in favor of open
        proceedings where the parties are identified, the federal courts of
        appeal and a number of district courts have recognized that a district
        court may have the discretion to permit a party to proceed under a
        fictitious name. This unusual practice has been permitted in
        exceptional cases where the party has a privacy right so substantial as
        to outweigh the "customary and constitutionally-embedded
        presumption of openness in judicial proceedings."[Doe v.]Funk,951
        F.2d [320] at 323 [11th Cir. 1992], quoting Doe v. Stegall, 653 F.2d
         180, 186 (5th Cir.1981). See, e.g., James v. Jacobson, 6 F.3d 233,
        238-39 (4th Cir.1993); Coe v. Unzted States Dist. Ct. fog the Dist. of
        Colo., 676 F.2d 411, 418 (10th Cir.1982); Southern Methodist Univ.
        Assn of Women haw ~'tudents v. Wynne &Jaffe, 599 F.2d 707, 713
        (5th Cir.1979); Doe v. Shaku~, 164 F.R.D. 359, 360 (S.D.N.Y.1996);
        Doe v. Bell Atlantic Business Sys. Sews., Inc., 162 F.R.D. 418, 420
        (D.Mass.1995). The Supreme Court appears not to have ruled
        specifically on the practice or its compatibility with Fed.R.Civ.P. 10,
        but it has implicitly permitted the use of fictitious names in a number
        of cases. E.g., Roe v. Wade, 410 U.S. 113, 93 S.Ct. 705, 35 L.Ed.2d
        147 (1973); Doe v. Bolton, 410 U.S. 179, 93 S.Ct. 739, 35 L.Ed.2d
        201 (1973). All courts recognize, however, that proceeding under a
        fictitious name is an unusual measure reserved for exceptional cases.

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      The Seventh Circuit has not laid down a test for determining whether

pseudonym status should be granted, and the Court in Doe v. Indiana Black Expo,

Inc., 923 F.Supp. at 139-140, noted that "[t]here is no simple formula when this

unusual procedure is appropriate" and observed:

             Courts dealing with requests to proceed under fictitious names
      have avoided trying to articulate any mechanical legal test. They have
      instead identified a number of factors that should be considered to
      determine whether a plaintiffs interest in privacy is so significant as
      to outweigh the strong presumption favoring public identification of
      litigants.

      The Court in Doe v. Indiana Black Expo, Inc. continued, relying upon a

Southern District of New York case, stating:

      In Doe v. Shaku~, for example, the court identified as factors:

        (1)whether the plaintiff is challenging governmental activity;
        (2) whether the plaintiff would be required to disclose
        information of the utmost intimacy; (3) whether the plaintiff
        would be compelled to admit his or her intention to engage in
        illegal conduct, thereby risking criminal prosecution; (4)
        whether the plaintiff would risk suffering injury if identified;
        and (5) whether the party defending against a suit brought
        under a pseudonym would be prejudiced.

     164 F.R.D. at 361. Other factors may include whether the interests of
     children are at stake, e.g., Doe v. Stegall, 653 F.2d at 186, and
     whether there are less drastic means of protecting legitimate interests
     of either the party seeking anonymity or the opposing party, see
     Jacobson, 6 F.3d at 241. As the Eleventh Circuit has instructed, a
     judge presented with a request to proceed under a fictitious name
     should carefully review all the circumstances of the given case and
     then decide "whether the customary practice of disclosing the
     plaintiffs identity should yield to the plaintiffs privacy concerns."
     Funk, 951 F.2d at 323. Against the backdrop of the presumption in
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         favor of public disclosure, therefore, the court will review and then
         evaluate the nature of plaintiffs claims, his asserted need for privacy,
         and the defendants' interests in public disclosure of the plaintiffs
         name.

923 F.Supp. at 140. See EW v. New York Blood Center, 213 F.R.D. 108, 111

(E.D.N.Y. 2003)(similar factors recognized).

         It is respectfully submitted that he discussion that follows establishes that

this is such an exceptional case warranting pseudonym treatment.

   II.      The Plaintiffs Claims Involve Challen~in~ Government Activity.

         The first factor recognized in Doe v. Indiana Black Expo, Inc. when

considering whether to grant pseudonym status is "whether the plaintiff is

challenging governmental activity." 923 F.Supp. at 140. What is certainly the case

here.     Plaintiff is challenging the campus sexual misconduct procedures at

Defendant Purdue University that are effectively required by the April 2011 Dear

Colleague Letter issued by the Department of Education's Office of Civil Rights

but involve violations of constitutional due process.

         The first claim in the Complaint is brought under 42 U.S.C. § 1983 for

violations of the Fourteenth Amendment because Defendant Purdue University is a

land grant school, but even the second claim in the Complaint for violation of Title

IX rests in part on the inadequate procedures that, as discussed in the Complaint,

are effectively dictated by the April 201 Dear Colleague Letter issued by the

Department of Education's Office of Civil Rights.

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       As the Complaint details, Defendant Purdue University used a Kafkaesque

process that denied due process of law in violation of constitutional due process

and 42 U.S.C. § 1983: there was no hearing of any kind; there was no cross-

examination; there was no sworn testimony; there was no access given for the

respondent even to see the investigator's report, much less comment on it; there

was no providing, to respondent, the evidence that supposedly supported the false

allegations of complainant and thus no fair and adequate ability to prepare a

defense to those allegations; there was no presumption of innocence but rather a

presumption that the accusing female's story was true; there was no reasoned

consideration of evidence as required by a burden of proof; there was a conflict of

interest in decision-making on violation and sanction by one person who is both

Dean of Students and Title IX Coordinator, who among other things can tailor

decision-making in specific cases to give the appearance of vigorous Title IX

enforcement and meet perceived reporting needs to the U.S. Department of

Education Office of Civil Rights ("OCR"); there was no requirement for evidence

to be stated in support of conclusions and thus an effective discretion to engage in

discriminatory decision-making and a prejudiced ability for the respondent to

prepare and submit an appeal.
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   III.   The Litigation Involves Information That Is Highly Personal.

      The second factor recognized in Doe v. Indiana Black Expo, Inc. when

considering whether to grant pseudonym status is "whether the plaintiff would be

required to disclose information of the utmost intimacy." 923 F.Supp. at 140.

That, again, is certainly the case here.        Plaintiff will be required to disclose

information that is highly sensitive and highly personal as to the relationship he

had with his accuser Jane Doe, which as stated in the Complaint involved a

consensual sexual relationship at one time but did not include the two alleged

incidents of alleged non-consensual activity.

      Plaintiff should be permitted to proceed under a pseudonym given that the

nature of this litigation. Plaintiff does not merely contend that the revelation of his

name and the name of his accuser would result in embarrassment or public

humiliation. Rather, Plaintiff notes the highly sensitive nature and privacy issues

that would be involved with being falsely linked to an allegation of sexual

misconduct.

      In fact, numerous courts around the country have permitted plaintiffs

alleging similar claims against colleges and universities to proceed anonymously.

See e.g. John Doe v. Columbia University and Trustees of Columbia UniveYsity,

831 F.3d 46 (2016); Doe v. Washington c~ Lee Univ., No. 14-CV-00052, 2015 WL

4647996 (W.D. Va. Aug. 5, 2015); Doe v. Univ. ofthe South, 687 F. Supp. 2d 744


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(E.D. Tenn. 2009); Doe v. Univ. ofMassachusetts-Amherst, 2015 WL 4306521 (D.

Mass. 2015); Doe v. Univ. ofS. Florida Bd. of Trustees, 2015 WL 3453753 (M.D.

Fla. 2015); Doe v. Salisbury Univ., 2015 WL 3478134(D. Md. 2015); Doe v. Univ.

of Montana, 2012 WL 2416481 (D. Mont. 2012)("With respect to the individual

students involved in the Student Conduct Code proceeding, as well as the

witnesses and University Court members involved in that proceeding, the Court

finds that the interests of those individuals in avoiding undue embarrassment,

harassment, and disclosure of sensitive private information outweigh the public's

need to know their names," citing to Does I—XXIII v. Advanced Textile Copp., 214

F.3d 1058, 1068-69 (9th Cir. 2000)).

      Similarly, Plaintiff here should be permitted to proceed anonymously due to

the highly sensitive and personal nature associated with being falsely accused of

sexual misconduct.

   IV.    Disclosure of Plaintiffs Identity Would
          Result In Si~nif~cant Harm To Plaintiff.

      A third factor recognized in Doe v. Indiana Black Expo, Inc. when

considering whether to grant pseudonym status is ""whether the plaintiff would

risk suffering injury if identified." 923 F.Supp. at 140. That, again, is certainly the

case here. Revelation of his identify would result in signifcant harm to Plaintiff,

the exact type which he seeks to remedy by the commencement of this lawsuit. See

Doe v. Colgate Univ., No. 5:15-CV-1069 (LEK/DEP), 2016 WL 1448829, at *3
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(N.D.N.Y. Apr. 12, 2016)("[s]hould Plaintiff prevail in providing that the charges

against him were unfounded and the procedures Defendants followed in their

investigation were unfair, forcing Plaintiff to reveal his identity would further

exacerbate the emotional and reputational injuries he alleges.")

       Forcing Plaintiff to reveal his identity would not further any aspect of the

litigation and "instead poses a risk that Plaintiff would be subject to unnecessary

ridicule and attention." Doe v. Colgate Univ., 2016 WL 1448829, at ~3. Even if

Plaintiff were ultimately exonerated and his records expunged, the disclosure of his

name could nonetheless significantly hinder his ability to pursue future career and

educational endeavors, including military service and graduate studies, as any

entity or employer would undoubtedly have access to the records related to this

matter and discover that Plaintiff was falsely accused of sexual misconduct. It is

widely recognized that the likelihood of acceptance as a transfer student to an elite

undergraduate program, or to a top tier graduate program, is significantly reduced

in light of the high number of applicants and stiff competition, let alone the social

stigma associated with being found responsible and sanctioned for "sexual

misconduct," regardless of whether the decision is ultimately overturned as a result

of litigation.

       While in the past, courts strongly disfavored allowing plaintiffs to proceed

anonymously except in extreme circumstances, the nature of the Internet today is


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such that any plaintiffs identity is readily accessible via a simple online search;

thus, courts must be willing to afford additional protective measures to avoid

further damage to a plaintiff involved in a matter concerning such egregious and

unfounded violations as the present one. Further, there is no doubt that "cases

stemming from investigations of sexual abuse on college and university campuses

have garnered significant media attention, posing the risk of further reputational

harm to both the plaintiffs in these cases and their accusers." Doe v. Colgate Univ.,

No. 5:15-CV-1069 (LEK/DEP), 2016 WL 1448829, at ~`2 (N.D.N.Y. Apr. 12,

2016); see also Doe v. Brown, No. 15-144, 2016 WL 715794, at * 1 (D.R.I. Feb.

22, 2016)("This case concerns an issue that has been the subject of increasing

attention and controversy, particularly in academia, and which has garnered much

recent media and scholarly commentary.")

      Here, if Plaintiff were required to reveal his name, the public's access to his

identity could result in further damage to his future educational and career

endeavors, resulting in additional mental, emotional and psychological harm -- the

very harms which he seeks to remedy in this action. As such, "protecting the

anonymity of sexual assault victims and those accused of committing sexual

assault can be an important safeguard to ensure that the due process rights of all

parties are protected." Doe v. Colgate Univ., No. 5:15-CV-1069 (LEK/DEP), 2016

WL 1448829, at *2(N.D.N.Y. Apr. 12, 2016).


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        Based on the foregoing, John Doe should be permitted to proceed

anonymously as requiring him to reveal his identity would result in significant

harm to John Doe, including the exact damages he seeks to remedy in this matter;

namely, physical, psychological, emotional and reputational damages, economic

injuries and the loss of educational and career opportunities.

   V.      The Purdue Defendants V~ill Not Be Prejudiced By
           Allowing Plaintiff To Proceed With A Pseudonym.

        A fourth factor recognized in Doe v. Indiana Black Expo, Inc. when

considering whether to grant pseudonym status is "whether the party defending

against a suit brought under a pseudonym would be prejudiced." 923 F.Supp. at

140. What, again, is certainly the case here. The Purdue Defendants will not be

prejudiced in any way by proceeding against an anonymous party. As one Court

observed, "Other than the need to make redactions and take measures not to

disclose plaintiffs identity, Defendants will not be hampered or inconvenienced

merely by Plaintiffs anonymity in court papers." Doe No. 2 v. Kolko, 242 F.R.D.

193, 198 (E.D.N.Y. 2006).

        The Purdue Defendants are already aware of Plaintiff's true identity. Thus,

there is no doubt that Purdue Defendants will have an unobstructed opportunity to

conduct discovery, present their defenses and litigate this matter, regardless of

whether Plaintiff identifies himself or proceeds anonymously. Accordingly,

Plaintiff must be permitted to proceed anonymously in this action as revealing his

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name will cause significant prejudice to Plaintiff, while proceeding anonymously

will not hinder the Purdue Defendants in any way.

   VI.    Additional Considerations.

       Plaintiff should also be permitted to proceed in this action anonymously

because the public's interest in this matter would not be furthered by disclosing

Plaintiff's identity, as his challenges to Defendant Purdue's denial of due process

concerns a larger association than the interest of an individual plaintiff; it affects

the male student population at Defendant Purdue University as a whole. See Doe

No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006). Further, the public's

knowledge will only be minimally restricted, as it will still know what is alleged to

have occurred that resulted in charges of sexual misconduct being filed, as well as

the flawed process by which the Defendants investigated and adjudicated those

charges. To the contrary, forcing Plaintiff to reveal his identity could have a

potential chilling effect on other similarly situated future plaintiffs.

                                   CONCLUSION

      For these reasons and such other reasons as may appear just to the Court,

Plaintiff John Doe requests that his Ex Pate Motion to Proceed Under Pseudonym

and for Protective Order be granted in its entirety.




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Dated: New York, New York
       January 24, 2017

                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned attorney certifies that he served the attached document/s on all parties of
record via the Court’s CM/ECF system.


                                            /s/Roberto Alejandro Mendoza
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